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 8                              UNITED STATES DISTRICT COURT

 9                            SOUTHERN DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                          Case No.: 14-CR-3076-BTM

11                             Plaintiff,

12                                                    ORDER AND JUDGMENT OF
            v.                                        DISMISSAL WITHOUT PREJUDICE
13 KARINA JAQUELINE MORENO VILLA                      (DEFENDANT NUMBER 2, KARINA
                                                      JAQUELINE MORENO VILLA ONLY)
   (2),
14

15                             Defendant.

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18          Upon motion of the United States of America and good cause
19 appearing,

20          IT IS HEREBY ORDERED that the Complaint against defendant KARINA
21 JAQUELINE       MORENO     VILLA   (defendant   number     2)   only   in   the   above-
22 entitled case be dismissed without prejudice.

23          IT IS SO ORDERED.
24 DATED: November 19, 2014.

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27                                              The Honorable Mitchel D. Dembin
                                                United States Magistrate Judge
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